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                              UNITED STATES DISTRICT COURT

                                       DISTRICT OF UTAH


       UNITED STATES OF AMERICA,                     ORDER CONTINUING JURY TRIAL AND
                                                     EXCLUDING TIME UNDER THE SPEEDY
                     Plaintiff,                                 TRIAL ACT

                         v.                                       Case No. 1:23-cr-6

    TADASHI KURA KOJIMA, aka AARON                             Howard C. Nielson, Jr.
           MICHAEL ZEMAN,                                    United States District Judge

                    Defendant.


       Having considered Defendant’s motion to continue jury trial, the court hereby finds as

follows:

       Defendant was arraigned on August 21, 2023, and trial was scheduled for October 24,

2023, which was within the 70 days allowed under the Speedy Trial Act. See Dkt. No. 10. Since

then, the court issued one order granting a request to continue the trial date and excluding time

under the Speedy Trial Act. See Dkt. No. 24. The trial is now scheduled to begin on April 23,

2024. See Dkt. No. 26. Defense counsel moves to continue the trial. See Dkt. No. 27. This is the

defense’s second request for a continuance. Defendant is in custody and agrees that his defense

will not be hindered or prejudiced by the requested continuance. The Government does not

object to the proposed continuance. There are no co-defendants.

       Defense counsel represents that the parties are attempting to resolve the current case by

globalizing the federal case with state charges out of Nebraska. To date, defense counsel reports

significant difficulty in communicating with the authorities in Nebraska. Defense counsel

recently communicated with Mr. Kojima’s defense attorney in Nebraska and is hopeful that more

fruitful discussions and negotiations will occur in the coming weeks and months. Because

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 defense counsel believes that globalization of the two cases is in Mr. Kojima’s best interest,

 counsel requests a continuance of at least 120 days to allow the parties to work out a proposed

 resolution of the two cases. If an agreement cannot be reached, counsel will need additional time

 to prepare for trial.

            Based on these representations, the court finds that failure to grant a continuance would

 result in a miscarriage of justice and deny counsel “the reasonable time necessary for effective

 preparation, taking into account the exercise of due diligence.” 18 U.S.C. § 3161(h)(7)(B)(i) and

 (iv). The court finds that the length of the requested continuance is reasonable and reasonably

 related to the reasons for the continuance. For these reasons, the court finds that the ends of

 justice served by such a continuance outweigh the best interests of the public and the defendant

 in a speedy trial. Accordingly, the court finds that there are facts that support a continuance of

 the trial date in this matter, and good cause for excluding time under the Speedy Trial Act, 18

 U.S.C. § 3161 et seq.

 THEREFORE, FOR GOOD CAUSE SHOWN:

       1.          The trial in this matter is continued to August 20, 2024.

       2.          The time period from March 26, 2024, to August 20, 2024, inclusive, is excluded

in computing the time within which the trial must commence, pursuant to 18 U.S.C.

§§ 3161(h)(1)(D), (h)(7)(A), (h)(7)(B)(i), and (h)(7)(B)(iv).

       IT IS SO ORDERED.

                                                  Dated this 8th day of April, 2024.
                                                  BY THE COURT:


                                                  _____________________________
                                                  Howard C. Nielson, Jr.
                                                  United States District Judge




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